Case: 3:14-cv-00454-WHR Doc #: 288 Filed: 05/17/19 Page: 1 of 1 PAGEID #: 20128

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
Tressa Sherrod, et. al.
Plaintiffs, Case No.: 3:14-cv-454
-VS-
District Judge Walter H. Rice
Officer Sean Williams, et. al.

Defendants.

) ENTRY GRANTING
MOTION FOR EXTENSION OF TIME

Upon Motion, and for good cause shown, Defendants Wal-Mart Stores, Inc., and Wal-Mart Stores East, L.P.’s
Motion for Extension of Time for Motion in Limine #8 is hereby GRANTED. Defendants shall file the Motion

in Limine #8 on or before May 24, 2019.
IT IS SO ORDERED.

Judge Rice

Copies to all counsel of record.
